                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE


DAIRYLAND INSURANCE                           )
COMPANY,                                      )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )               Case No. : 3:07-CV-263
                                              )
DIXIE LEONARD JOHNSON,                        )
DUSTIN E. SIMPSON, and                        )
TENNESSEE FARMERS MUTUAL                      )
INSURANCE COMPANY,                            )
                                              )
       Defendants.                            )


                           MOTION FOR DEFAULT JUDGMENT

       Comes Dairyland Insurance Company (hereinafter referred to as “Dairyland”), by and

through the undersigned counsel, and requests the Court, pursuant to Federal Rule of Civil

Procedure 55(b)(2), enter a judgment by default against defendant Dustin E. Simpson. In support

of this request, Dairyland relies upon the record in this case and the affidavit attached hereto.

       Respectfully submitted,

                                              BAKER, O’KANE,
                                              ATKINS & THOMPSON


                                               /s/ Michael K. Atkins
                                              MICHAEL K. ATKINS, BPR# 017862
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                                              Attorney for Plaintiff Dairyland
                                              Insurance Company




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 24, 2007, a copy of the foregoing Motion for Default

Judgment was filed electronically. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. All other parties will

be served by regular U.S. mail. Parties may access this filing through the Court’s electronic filing

system.

                                                          /s/ Michael K. Atkins
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